                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                1:21-cv-00017-RJC

DANIELLE CAROL METZGER,              )
                                     )
            Plaintiff,               )
                                     )
      vs.                            )
                                     )                                ORDER
                                     )
COMMISSIONER OF SOCIAL               )
SECURITY,                            )
                                     )
            Defendant.               )
____________________________________ )

       THIS MATTER comes before the Court on Plaintiff’s “Motion to Dismiss Civil Action

Pursuant to Rule 41(a)(2) Federal Rules of Civil Procedure” (the “Motion”). (Doc. No. 11).

Plaintiff’s Motion moves this Court to dismiss her civil action, with prejudice, pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure. Plaintiff has voluntarily concluded that “her

claim will be better presented through a new application, with updated medical records, as the

medical evidence in this administrative record will not support reversal of the adverse decision by

the Administrative Law Judge below.” (Doc. No.11 at 1). Plaintiff has consulted with counsel for

Defendant who consents to the Motion. (Id. at 2). Unless ordered otherwise, voluntary dismissal

under Rule 41(a)(2) is without prejudice. Fed. R. Civ. P. 41(a)(2). However, Plaintiff’s Motion

requests the Court dismissal the case with prejudice. (Doc. No. 11). Therefore, pursuant to Rule

41(a)(2), the Court will dismiss Plaintiff’s action with prejudice.




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   IT IS, THEREFORE, ORDERED that:

1. Plaintiff's Motion to Dismiss with Prejudice, (Doc. No. 11), is GRANTED;

2. The Clerk of Court is directed to close this case.



       Signed: November 23, 2021




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